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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


      ASYLUMWORKS, et al.,

                    Plaintiffs,
                                                       No. 2020-cv-03815-BAH
      v.

      ALEJANDRO N. MAYORKAS, in his
      official capacity as the Secretary of
      Homeland Security, et al.,


                    Defendants.



                                  [PROPOSED] ORDER

      Upon consideration of Plaintiffs’ motion for partial summary judgment, it is hereby

ORDERED that the motion is GRANTED.

Dated: ________________________

                                                ______________________________________

                                                                              Beryl A. Howell

                                                             Chief United States District Judge
